                                                                        Mike Finney

                                                                         Ex. 18
                                                                         Jerri Porter 9/28/21




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 1 of 256 PageID #: 5420
                                                                      DEFENDANT 0488
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 2 of 256 PageID #: 5421
                                                                      DEFENDANT 0489
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 3 of 256 PageID #: 5422
                                                                      DEFENDANT 0490
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 4 of 256 PageID #: 5423
                                                                      DEFENDANT 0491
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 5 of 256 PageID #: 5424
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 6 of 256 PageID #: 5425
                                                                      DEFENDANT 0494
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 7 of 256 PageID #: 5426
                                                                      DEFENDANT 0495
DocuSign Envelope ID: 78758C2C-8CE3-47D2-A1B4-6567FA1EBBC2


                                                                                                                          GL: 600-008
                                                                                                                          Dept: Technology
                                                                                                                          Card: REQ-151




        Dea


        Congratulations! Ramsey Solutions is thrilled you have decided to join our team doing work that matters.

        You’re really going to love it here! Yes, we have been voted one of the “Best Places to Work” in Nashville 10
        times, but we are most proud of the ever-growing number of lives changed through our message and products.
        And now, you get to be a part of all that.

        This letter confirms our offer for the                                                                 at a salary of $55,000.00 to be paid in
        semi-monthly increments.

        One of our Core Values is “Share the Profits.” We think of our team members as owners—not employees—and in
        that spirit, you will become eligible for profit sharing on               and receive those monies if
        applicable on

        Your start date will be                       . You will receive detailed information regarding our onboarding
        process within five business days of start date. Please remember to bring a photo ID, as well as confirmation (i.e.
        social security card, passport, or birth certificate) of your eligibility to work in the United States.

        We look forward to seeing you on                                            . If you have any questions in the meantime, please let me
        know.




        ______________________________________________________________________________
        Armando Lopez                                                 Date
        Executive Director of HR


                                                         ________________________________________________________
                                                                                           Date




        This offer letter is confidential and not intended for disclosure to third parties or other publication without the express, written approval of The Lampo
        Group, LLC/DBA Ramsey Solutions. Any unauthorized disclosure could result in offer revocation or termination of employment.

        This offer and its acceptance do not create an employment contract. All offers and employment with The Lampo Group, LLC/DBA Ramsey Solutions are
        subject to all terms of our Policies and Procedures.
               Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 8 of 256 PageID #: 5427
                                                                                                                                                       DEFENDANT 0496
From:
To:                         ; Eric Lackey; Rick Perry; Armando Lopez; Michael Finney
Subject:           Re: Team Member Concern
Date:              Tuesday,                   11:01:34 AM


                Is meet with Rick and Armando before having any additional conversations with
           This almost certainly will involve you and Eric visiting HR Committee.

Thanks!



Ramsey Solutions




From:                                        >
Sent: Tuesday,                  10:31 AM
To: Eric Lackey; Rick Perry; Armando Lopez; Michael Finney;
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.



Thanks,




Ramsey Solutions
www.daveramsey.com

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 9 of 256 PageID #: 5428
                                                 CONFIDENTIAL                                  DEFENDANT 0671
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 10 of 256 PageID #: 5429
                              CONFIDENTIAL                             DEFENDANT 0672
From:
To:                 Armando Lopez; Michael Finney;
Subject:            Re: go ahead
Date:               Wednesday,                 12:37:21 PM
Attachments:        image001.png
                    image002.png


I can do 3:00 PM. I’ll just need to bounce the global tech meeting.

Thanks!



Ramsey Solutions




From: Armando Lopez <armando.lopez@daveramsey.com>
Sent: Wednesday,               12:35 PM
To: Michael Finney;               ;
Subject: Re: go ahead

3 from my end…later in the day is usually best.


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From: Michael Finney <Michael.Finney@daveramsey.com>
Date: Wednesday,                 at 12:35 PM
To: Armando Lopez <armando.lopez@daveramsey.com>,
                                    >,                                                             >

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 11 of 256 PageID #: 5430
                                               CONFIDENTIAL                                                   DEFENDANT 0673
Subject: RE: go ahead

We probably only need a half hour but we should schedule the full hour. I have either the 1pm hour
the 3pm hour where I can shift things.

       First 15 minutes –        /    /Finney talk. Agree on plan.
       The next 15-45 minutes – Bring      in. Talk. Give him the bad news. Take him to Armando’s
       office.

What works best… 1pm or 3pm?

We can use my office.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Wednesday,                 12:26 PM
To: Michael Finney <Michael.Finney@daveramsey.com>;
                                    >;                                                       >
Subject: go ahead

Dave is good to move forward. Can you let me know what time you plan to meet for me to be ready.

Thanks
Armando


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 12 of 256 PageID #: 5431
                                              CONFIDENTIAL                                                    DEFENDANT 0674
attachments without storing it and notify the sender so that our address record can be corrected.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 13 of 256 PageID #: 5432
                                             CONFIDENTIAL                                           DEFENDANT 0675
From:              Michael Finney
To:                Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject:           RE: Team Member Concern
Date:              Tuesday,                 2:25:46 PM
Attachments:       image001.png
                   image002.png
                   image003.png


The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                    . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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                                                CONFIDENTIAL                                                DEFENDANT 0676
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attachments without storing it and notify the sender so that our address record can be corrected.




From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,                      10:51 AM


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 15 of 256 PageID #: 5434
                                              CONFIDENTIAL                                                    DEFENDANT 0677
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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attachments without storing it and notify the sender so that our address record can be corrected.




From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 16 of 256 PageID #: 5435
                                              CONFIDENTIAL                                                    DEFENDANT 0678
From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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attachments without storing it and notify the sender so that our address record can be corrected.




From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 17 of 256 PageID #: 5436
                                              CONFIDENTIAL                                                    DEFENDANT 0679
He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 18 of 256 PageID #: 5437
                                        CONFIDENTIAL                                           DEFENDANT 0680
From:            Michael Finney
To:              Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject:         RE: Team Member Concern
Date:            Tuesday,                 2:30:34 PM
Attachments:     image001.png
                 image002.png
                 image003.png


Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
      highly doubt it)

Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 19 of 256 PageID #: 5438
                                              CONFIDENTIAL                                      DEFENDANT 0681
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                   . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
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From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 20 of 256 PageID #: 5439
                                              CONFIDENTIAL                                                    DEFENDANT 0682
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here          .

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
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www.daveramsey.com


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                                         CONFIDENTIAL                                         DEFENDANT 0683
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From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

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Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
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From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 23 of 256 PageID #: 5442
                                              CONFIDENTIAL                                                    DEFENDANT 0685
From:              Michael Finney
To:                Armando Lopez;                ;
Subject:           RE: go ahead
Date:              Wednesday,               12:35:06 PM
Attachments:       image001.png


We probably only need a half hour but we should schedule the full hour. I have either the 1pm hour
the 3pm hour where I can shift things.

       First 15 minutes –        /    /Finney talk. Agree on plan.
       The next 15-45 minutes – Bring      in. Talk. Give him the bad news. Take him to Armando’s
       office.

What works best… 1pm or 3pm?

We can use my office.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Wednesday,                 12:26 PM
To: Michael Finney <Michael.Finney@daveramsey.com>;
                                    >;
Subject: go ahead

Dave is good to move forward. Can you let me know what time you plan to meet for me to be ready.

Thanks
Armando

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 25 of 256 PageID #: 5444
                                              CONFIDENTIAL                                                    DEFENDANT 0687
From:              Michael Finney
To:                Suzanne Simms; Jack Galloway; Armando Lopez; Jennifer Sievertsen; Mark Floyd
Subject:           Re: Team Member Concern
Date:              Wednesday,                 9:51:06 AM
Attachments:       image001.png
                   image002.png
                   image003.png


I said I will be there, too!


From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Wednesday,                  at 9:50 AM
To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
<jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: Re: Team Member Concern

Finney, a board member has to be there.

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Wednesday,                 9:49 AM
To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
Subject: Re: Team Member Concern

I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

I like your approach on the conversation.


From: Jack Galloway <jack@daveramsey.com>
Date: Wednesday,                    at 9:45 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: RE: Team Member Concern

Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 26 of 256 PageID #: 5445
                                                CONFIDENTIAL                                      DEFENDANT 0688
after Dave replies:

      I will confirm with you guys by email
      Finney &        sound like the right pair to meet with him
      Armando will meet with him afterward

Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
simply telling him “you broke the rules and you’re fired”, I would suggest asking him
some questions when you meet with him. Things like:

      We talked about righteous living at least two times during the interview. There
      was no confusion. And based on the time line, you were violating the core value
      while you were agreeing to it…why?
      Based on the timeline, there’s a reasonable chance you suspected or knew about
      the pregnancy and didn’t talk about it?
      Why would you put all of us through this when you knew how we felt about it?

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Suzanne Simms
Sent: Tuesday,                2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

Feels like he would’ve said all that by now...?!

I’m good with     .

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                 2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 27 of 256 PageID #: 5446
                                       CONFIDENTIAL                                  DEFENDANT 0689
Subject: RE: Team Member Concern

Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
      highly doubt it)

Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 28 of 256 PageID #: 5447
                                        CONFIDENTIAL                                           DEFENDANT 0690
Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                   . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 29 of 256 PageID #: 5448
                                              CONFIDENTIAL                                                    DEFENDANT 0691
From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here          .

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 30 of 256 PageID #: 5449
                                         CONFIDENTIAL                                         DEFENDANT 0692
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attachments without storing it and notify the sender so that our address record can be corrected.




From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 31 of 256 PageID #: 5450
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www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 32 of 256 PageID #: 5451
                                              CONFIDENTIAL                                                    DEFENDANT 0694
From:            Michael Finney
To:              Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
Subject:         Re: Team Member Concern
Date:            Wednesday,                 9:49:57 AM
Attachments:     image001.png
                 image002.png
                 image003.png


I think it should be      and       I can be there, too. But I’ve never spoken to him outside of a
quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

I like your approach on the conversation.


From: Jack Galloway <jack@daveramsey.com>
Date: Wednesday,                    at 9:45 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: RE: Team Member Concern

Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
after Dave replies:

      I will confirm with you guys by email
      Finney &        sound like the right pair to meet with him
      Armando will meet with him afterward

Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
simply telling him “you broke the rules and you’re fired”, I would suggest asking him
some questions when you meet with him. Things like:

      We talked about righteous living at least two times during the interview. There
      was no confusion. And based on the time line, you were violating the core value
      while you were agreeing to it…why?
      Based on the timeline, there’s a reasonable chance you suspected or knew about
      the pregnancy and didn’t talk about it?
      Why would you put all of us through this when you knew how we felt about it?

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 33 of 256 PageID #: 5452
                                              CONFIDENTIAL                                      DEFENDANT 0695
From: Suzanne Simms
Sent: Tuesday,                2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

Feels like he would’ve said all that by now...?!

I’m good with     .

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                 2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern

Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
      highly doubt it)

Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 34 of 256 PageID #: 5453
                                       CONFIDENTIAL                                          DEFENDANT 0696
The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                   . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 35 of 256 PageID #: 5454
                                              CONFIDENTIAL                                                    DEFENDANT 0697
From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 36 of 256 PageID #: 5455
                                         CONFIDENTIAL                             DEFENDANT 0698
From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 37 of 256 PageID #: 5456
                                              CONFIDENTIAL                                                    DEFENDANT 0699
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday, January 8, 2019 at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 38 of 256 PageID #: 5457
                                              CONFIDENTIAL                                                    DEFENDANT 0700
Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 39 of 256 PageID #: 5458
                                       CONFIDENTIAL                                         DEFENDANT 0701
From:              Michael Finney
To:                Jack Galloway
Cc:                Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
Subject:           Re: Team Member Concern
Date:              Tuesday,              4:58:07 PM
Attachments:       image001.png
                   image002.png
                   image003.png


I’m pretty sure           is gone. No concern if we wait until tomorrow.

(sent from mobile)

On                , at 4:52 PM, Jack Galloway <jack@daveramsey.com> wrote:


      I’ve emailed Dave (20 mins ago) and will probably hear back soon; but how
      time sensitive is this? Is    here till 5:30 or already gone home for the
      day?

      Jack Galloway
      Executive Vice President
      Ramsey Solutions
      www.daveramsey.com

      From: Suzanne Simms
      Sent: Tuesday,                2:31 PM
      To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
      <armando.lopez@daveramsey.com>; Jennifer Sievertsen
      <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
      Jack Galloway <jack@daveramsey.com>
      Subject: Re: Team Member Concern

      Feels like he would’ve said all that by now...?!

      I’m good with          .

      Suzanne Simms
      EVP, Consumer Division
      Ramsey Solutions


      From: Michael Finney <michael.finney@daveramsey.com>
      Sent: Tuesday, J               2:30 PM
      To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 40 of 256 PageID #: 5459
                                               CONFIDENTIAL                           DEFENDANT 0702
     Simms
     Subject: RE: Team Member Concern

     Wow. That didn’t come out right.

           I’m sure we hire people who had sex before marriage all the time. We don’t hold
           that against them.
           Maybe these two renewed their pledge to stay off each other after getting
           pregnant. (but I highly doubt it)

     Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they
     talked about it and he told her dad and they talked with their pastor and and and……
     would that change anything?

     ___________________
     Michael Finney
     Chief Digital Officer
     Ramsey Solutions



     From: Michael Finney
     Sent: Tuesday,               2:26 PM
     To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
     <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
     Jack Galloway <jack@daveramsey.com>; Suzanne Simms
     <Suzannes@daveramsey.com>
     Subject: RE: Team Member Concern

     The only wrinkle in this whole thing is he got her pregnant before he started here. sure
     we hire people all the time to who kids out of wedlock.

     My question would be would that change anything? I’m 99% sure that doesn’t change
     things. But I had to call it out before we make the final decision.

     ___________________
     Michael Finney
     Chief Digital Officer
     Ramsey Solutions



     From: Armando Lopez
     Sent: Tuesday,                  2:20 PM
     To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
     <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 41 of 256 PageID #: 5460
                                        CONFIDENTIAL                                            DEFENDANT 0703
     Simms <Suzannes@daveramsey.com>
     Cc: Michael Finney <Michael.Finney@daveramsey.com>
     Subject: Re: Team Member Concern

     Nothing new to report after meeting with      . Righteous living was discussed with
          at interview and brought up at spousal lunch with        & his wife      .
     showed up alone since he was not married and conversations were had to insure he
     understood our core value and stance.

            started with us on                  . He makes $55k

     I’m leaning towards         which is what we offer people who opt out in 90 days.
     Thoughts?

     Armando Lopez | Executive Director of Human Resources
     Ramsey Solutions
     1749 Mallory Lane, Brentwood, TN 37027
     T: 615.515.3223, ext. 5045 | M: 615.390.9368
     www.daveramsey.com
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     received this material in error, please delete this message and any attachments without storing it
     and notify the sender so that our address record can be corrected.




     From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
     Date: Tuesday,                  at 1:17 PM
     To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway
     <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
     Suzanne Simms <Suzannes@daveramsey.com>
     Subject: Re: Team Member Concern

     Yep – agree. It’s the probationary period.


     From: Mark Floyd <Mark.Floyd@daveramsey.com>
     Date: Tuesday,                at 1:16 PM
     To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
     <armando.lopez@daveramsey.com>, Jen Sievertsen
     <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
     <Suzannes@daveramsey.com>
     Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 42 of 256 PageID #: 5461
                                           CONFIDENTIAL                                                    DEFENDANT 0704
     Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

     From: Jack Galloway
     Sent: Tuesday,               1:15 PM
     To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway
     <jack@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
     Mark Floyd <Mark.Floyd@daveramsey.com>; Suzanne Simms
     <Suzannes@daveramsey.com>
     Subject: RE: Team Member Concern

     One thing we’d need to land on is severance. Call me a hard @$$; but I’m
     not sure we need to be quite as generous to a guy that had already gotten a
     girl pregnant when he started as we were with        . And he’s literally
     been working here          .

     Jack Galloway
     Executive Vice President
     Ramsey Solutions
     www.daveramsey.com

     From: Jennifer Sievertsen
     Sent: Tuesday,              10:51 AM
     To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
     <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
     Subject: Re: Team Member Concern

     Let’s email the details and determine if there’s a reason to meet or not.


     From: Armando Lopez <armando.lopez@daveramsey.com>
     Date: Tuesday,               at 10:49 AM
     To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
     <jennifer.sievertsen@daveramsey.com>, Committee - HR
     <HRCommittee@daveramsey.com>
     Subject: Re: Team Member Concern

     Yep!      and I will meet at lunch to gather additional detail. Should we meet prior to
     Thursday’s HRC meeting or wait?

     Armando Lopez | Executive Director of Human Resources
     Ramsey Solutions
     1749 Mallory Lane, Brentwood, TN 37027


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 43 of 256 PageID #: 5462
                                       CONFIDENTIAL                                            DEFENDANT 0705
     T: 615.515.3223, ext. 5045 | M: 615.390.9368
     www.daveramsey.com
     <image002.png>
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     received this material in error, please delete this message and any attachments without storing it
     and notify the sender so that our address record can be corrected.




     From: Suzanne Simms <Suzannes@daveramsey.com>
     Date: Tuesday,                   at 10:45 AM
     To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
     <armando.lopez@daveramsey.com>, Committee - HR
     <HRCommittee@daveramsey.com>
     Subject: Re: Team Member Concern

     Damn! EXACT same timeline and story!?

     Suzanne Simms
     EVP, Consumer Division
     Ramsey Solutions


     From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
     Sent: Tuesday,                 11:44 AM
     To: Armando Lopez; Committee - HR
     Subject: Re: Team Member Concern

     Well we have a template on how to handle I guess. When it rains, it pours!


     From: Armando Lopez <armando.lopez@daveramsey.com>
     Date: Tuesday,             at 10:43 AM
     To: Committee - HR <HRCommittee@daveramsey.com>
     Subject: FW: Team Member Concern

     FYI - I will meet with        today! Crap…

     Armando Lopez | Executive Director of Human Resources
     Ramsey Solutions
     1749 Mallory Lane, Brentwood, TN 37027
     T: 615.515.3223, ext. 5045 | M: 615.390.9368
     www.daveramsey.com

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 44 of 256 PageID #: 5463
                                           CONFIDENTIAL                                                    DEFENDANT 0706
     <image003.png>
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     received this material in error, please delete this message and any attachments without storing it
     and notify the sender so that our address record can be corrected.




     From:                                      >
     Date: Tuesday,                at 10:31 AM
     To: Eric Lackey <EricL@daveramsey.com>, Rick Perry
     <Rick.Perry@daveramsey.com>, Armando Lopez
     <armando.lopez@daveramsey.com>, Michael Finney
     <Michael.Finney@daveramsey.com>,
                                          >
     Subject: Team Member Concern

     Gentlemen,

     I wanted to let you all know about something that I just learned about in my one-on-
     one with                this morning.

     He informed me that he and his wife are expecting their first child in             . The
     issue is that they just got married over the               . So here is the timeline that
     I have.




     Rick and Armando I will be looking to get some time with you today or tomorrow to
     figure out the next steps.


     Thanks,




     Ramsey Solutions
     www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 45 of 256 PageID #: 5464
                                           CONFIDENTIAL                                                    DEFENDANT 0707
From:              Michael Finney
To:                Jennifer Sievertsen; Suzanne Simms; Jack Galloway; Armando Lopez; Mark Floyd
Subject:           Re: Team Member Concern
Date:              Wednesday,                   9:56:32 AM
Attachments:       image001.png
                   image002.png
                   image003.png


Not sure. Armando can you find out?

Also… sorry @Suzanne Simms, I said “can” be there but I meant “will”. "


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Wednesday,                   at 9:53 AM
To: Michael Finney <Michael.Finney@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
Subject: Re: Team Member Concern

Is this guy and his wife on our insurance?


From: Michael Finney <Michael.Finney@daveramsey.com>
Date: Wednesday,                 at 9:51 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
Subject: Re: Team Member Concern

I said I will be there, too!


From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Wednesday,                  at 9:50 AM
To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
<jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: Re: Team Member Concern

Finney, a board member has to be there.

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 46 of 256 PageID #: 5465
                                                CONFIDENTIAL                                      DEFENDANT 0708
From: Michael Finney <michael.finney@daveramsey.com>
Sent: Wednesday,                 9:49 AM
To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
Subject: Re: Team Member Concern

I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

I like your approach on the conversation.


From: Jack Galloway <jack@daveramsey.com>
Date: Wednesday,                    at 9:45 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: RE: Team Member Concern

Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
after Dave replies:

      I will confirm with you guys by email
      Finney &        sound like the right pair to meet with him
      Armando will meet with him afterward

Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
simply telling him “you broke the rules and you’re fired”, I would suggest asking him
some questions when you meet with him. Things like:

      We talked about righteous living at least two times during the interview. There
      was no confusion. And based on the time line, you were violating the core value
      while you were agreeing to it…why?
      Based on the timeline, there’s a reasonable chance you suspected or knew about
      the pregnancy and didn’t talk about it?
      Why would you put all of us through this when you knew how we felt about it?

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 47 of 256 PageID #: 5466
                                        CONFIDENTIAL                                          DEFENDANT 0709
From: Suzanne Simms
Sent: Tuesday,                2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

Feels like he would’ve said all that by now...?!

I’m good with

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                 2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern

Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
      highly doubt it)

Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 48 of 256 PageID #: 5467
                                       CONFIDENTIAL                                          DEFENDANT 0710
The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                   . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 49 of 256 PageID #: 5468
                                              CONFIDENTIAL                                                    DEFENDANT 0711
From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here          .

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 50 of 256 PageID #: 5469
                                         CONFIDENTIAL                             DEFENDANT 0712
From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 51 of 256 PageID #: 5470
                                              CONFIDENTIAL                                                    DEFENDANT 0713
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 52 of 256 PageID #: 5471
                                              CONFIDENTIAL                                                    DEFENDANT 0714
Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 53 of 256 PageID #: 5472
                                       CONFIDENTIAL                                         DEFENDANT 0715
From:               Armando Lopez
To:                 Committee - HR
Subject:            FW: Team Member Concern
Date:               Tuesday,              10:43:05 AM
Attachments:        image001.png


FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 54 of 256 PageID #: 5473
                                              CONFIDENTIAL                                                    DEFENDANT 0716
Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




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www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 55 of 256 PageID #: 5474
                                       CONFIDENTIAL                                         DEFENDANT 0717
From:               Armando Lopez
To:                 Michael Finney; Committee - HR
Subject:            Re:
Date:               Wednesday,                  4:52:57 PM
Attachments:        image001.png


It was a hard one, he made no excuses and owned his mistake. There were tears and prayers and we
ended in a good place. We offered help in finding employment, but he is beginning with two
companies that he was in process with when we offered. Both of those companies had also offered
and           has already texted a few of his contacts and has few interested in speaking to him.

Armando

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From: Michael Finney <Michael.Finney@daveramsey.com>
Date: Wednesday,                 at 3:40 PM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject:

          ,           and I sat down with               It was a tough one.

When he was interviewing he did not know that his girlfriend was pregnant. After they found out,
they made plans to get married and, in his words, “do the right thing.” He talked about how he
knows he messed up and how thankful he has been to the families and his church that are helping
them walk this out the right way.

He was surprised that we were letting him go. He felt like getting married and making the lifelong
commitment would be the right thing to do. In the end, though, he said he understood that we have
to be consistent with what we say. There were quite a few tears but he’s going to be alright. He’s a
good kid.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 56 of 256 PageID #: 5475
                                                CONFIDENTIAL                                                  DEFENDANT 0718
         did a great job of letting    open the conversation.   also did a good job delivering
the bad news to         They are with Armando now.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 57 of 256 PageID #: 5476
                                       CONFIDENTIAL                                    DEFENDANT 0719
From:            Jack Galloway
To:              Jennifer Sievertsen; Armando Lopez; Suzanne Simms; Committee - HR
Subject:         RE: Team Member Concern
Date:            Tuesday,                  12:42:03 PM
Attachments:     image001.png
                 image002.png


This guy hasn’t even passed his 90 days yet.                              In fact, they were two months
prego when he started. People…

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jack Galloway
Sent: Tuesday,                  12:36 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>; Committee -
HR <HRCommittee@daveramsey.com>
Subject: RE: Team Member Concern

(sigh)

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 58 of 256 PageID #: 5477
                                             CONFIDENTIAL                                           DEFENDANT 0773
From:            Michael Finney
To:              Committee - HR
Subject:
Date:            Wednesday,              3:40:36 PM


           ,       and I sat down with           It was a tough one.

When he was interviewing he did not know that his girlfriend was pregnant. After they found out,
they made plans to get married and, in his words, “do the right thing.” He talked about how he
knows he messed up and how thankful he has been to the families and his church that are helping
them walk this out the right way.

He was surprised that we were letting him go. He felt like getting married and making the lifelong
commitment would be the right thing to do. In the end, though, he said he understood that we have
to be consistent with what we say. There were quite a few tears but he’s going to be alright. He’s a
good kid.

         did a great job of letting    open the conversation.          also did a good job delivering
the bad news to         They are with Armando now.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 59 of 256 PageID #: 5478
                                          CONFIDENTIAL                                        DEFENDANT 1085
From:               Armando Lopez
To:                 Committee - HR
Subject:            FW: Team Member Concern
Date:               Tuesday,              10:43:08 AM
Attachments:        image001.png


FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 60 of 256 PageID #: 5479
                                              CONFIDENTIAL                                                    DEFENDANT 1086
Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 61 of 256 PageID #: 5480
                                       CONFIDENTIAL                                         DEFENDANT 1087
From:               Jack Galloway
To:                 Armando Lopez; Michael Finney
Cc:                 Suzanne Simms; Jennifer Sievertsen; Mark Floyd
Subject:            RE: Team Member Concern
Date:               Tuesday,                 5:03:33 PM
Attachments:        image001.png


OK

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Armando Lopez
Sent: Tuesday,                5:02 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Cc: Suzanne Simms <Suzannes@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>
Subject: Re: Team Member Concern

I don’t think this is time sensitive… different than    in that the leader did not stop to say this is a
concern and I’m taking higher for a decision. In other words        doesn’t even think there is a
problem as of now.

That said I think we have time

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From: Michael Finney <Michael.Finney@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 62 of 256 PageID #: 5481
                                                 CONFIDENTIAL                                                 DEFENDANT 1088
Date: Tuesday,                at 4:58 PM
To: Jack Galloway <jack@daveramsey.com>
Cc: Suzanne Simms <Suzannes@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Mark Floyd <Mark.Floyd@daveramsey.com>
Subject: Re: Team Member Concern

I’m pretty sure        is gone. No concern if we wait until tomorrow.

(sent from mobile)

On                , at 4:52 PM, Jack Galloway <jack@daveramsey.com> wrote:

      I’ve emailed Dave (20 mins ago) and will probably hear back soon; but how
      time sensitive is this? Is    here till 5:30 or already gone home for the
      day?

      Jack Galloway
      Executive Vice President
      Ramsey Solutions
      www.daveramsey.com

      From: Suzanne Simms
      Sent: Tuesday,                2:31 PM
      To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
      <armando.lopez@daveramsey.com>; Jennifer Sievertsen
      <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
      Jack Galloway <jack@daveramsey.com>
      Subject: Re: Team Member Concern

      Feels like he would’ve said all that by now...?!

      I’m good with       .

      Suzanne Simms
      EVP, Consumer Division
      Ramsey Solutions


      From: Michael Finney <michael.finney@daveramsey.com>
      Sent: Tuesday,                 2:30 PM
      To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 63 of 256 PageID #: 5482
                                       CONFIDENTIAL                                   DEFENDANT 1089
     Simms
     Subject: RE: Team Member Concern

     Wow. That didn’t come out right.

           I’m sure we hire people who had sex before marriage all the time. We don’t hold
           that against them.
           Maybe these two renewed their pledge to stay off each other after getting
           pregnant. (but I highly doubt it)

     Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they
     talked about it and he told her dad and they talked with their pastor and and and……
     would that change anything?

     ___________________
     Michael Finney
     Chief Digital Officer
     Ramsey Solutions



     From: Michael Finney
     Sent: Tuesday,               2:26 PM
     To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
     <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
     Jack Galloway <jack@daveramsey.com>; Suzanne Simms
     <Suzannes@daveramsey.com>
     Subject: RE: Team Member Concern

     The only wrinkle in this whole thing is he got her pregnant before he started here. sure
     we hire people all the time to who kids out of wedlock.

     My question would be would that change anything? I’m 99% sure that doesn’t change
     things. But I had to call it out before we make the final decision.

     ___________________
     Michael Finney
     Chief Digital Officer
     Ramsey Solutions



     From: Armando Lopez
     Sent: Tuesday,                  2:20 PM
     To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
     <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 64 of 256 PageID #: 5483
                                        CONFIDENTIAL                                            DEFENDANT 1090
     Simms <Suzannes@daveramsey.com>
     Cc: Michael Finney <Michael.Finney@daveramsey.com>
     Subject: Re: Team Member Concern

     Nothing new to report after meeting with      . Righteous living was discussed with
          at interview and brought up at spousal lunch with        & his wife      .
     showed up alone since he was not married and conversations were had to insure he
     understood our core value and stance.

            started with us on                  . He makes $55k

     I’m leaning towards         which is what we offer people who opt out in 90 days.
     Thoughts?

     Armando Lopez | Executive Director of Human Resources
     Ramsey Solutions
     1749 Mallory Lane, Brentwood, TN 37027
     T: 615.515.3223, ext. 5045 | M: 615.390.9368
     www.daveramsey.com
     <image001.png>
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     received this material in error, please delete this message and any attachments without storing it
     and notify the sender so that our address record can be corrected.




     From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
     Date: Tuesday,                  at 1:17 PM
     To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway
     <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
     Suzanne Simms <Suzannes@daveramsey.com>
     Subject: Re: Team Member Concern

     Yep – agree. It’s the probationary period.


     From: Mark Floyd <Mark.Floyd@daveramsey.com>
     Date: Tuesday,                at 1:16 PM
     To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
     <armando.lopez@daveramsey.com>, Jen Sievertsen
     <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
     <Suzannes@daveramsey.com>
     Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 65 of 256 PageID #: 5484
                                           CONFIDENTIAL                                                    DEFENDANT 1091
     Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

     From: Jack Galloway
     Sent: Tuesday,               1:15 PM
     To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway
     <jack@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
     Mark Floyd <Mark.Floyd@daveramsey.com>; Suzanne Simms
     <Suzannes@daveramsey.com>
     Subject: RE: Team Member Concern

     One thing we’d need to land on is severance. Call me a hard @$$; but I’m
     not sure we need to be quite as generous to a guy that had already gotten a
     girl pregnant when he started as we were with        . And he’s literally
     been working here          .

     Jack Galloway
     Executive Vice President
     Ramsey Solutions
     www.daveramsey.com

     From: Jennifer Sievertsen
     Sent: Tuesday,              10:51 AM
     To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
     <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
     Subject: Re: Team Member Concern

     Let’s email the details and determine if there’s a reason to meet or not.


     From: Armando Lopez <armando.lopez@daveramsey.com>
     Date: Tuesday,               at 10:49 AM
     To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
     <jennifer.sievertsen@daveramsey.com>, Committee - HR
     <HRCommittee@daveramsey.com>
     Subject: Re: Team Member Concern

     Yep!      and I will meet at lunch to gather additional detail. Should we meet prior to
     Thursday’s HRC meeting or wait?

     Armando Lopez | Executive Director of Human Resources
     Ramsey Solutions
     1749 Mallory Lane, Brentwood, TN 37027


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 66 of 256 PageID #: 5485
                                       CONFIDENTIAL                                            DEFENDANT 1092
     T: 615.515.3223, ext. 5045 | M: 615.390.9368
     www.daveramsey.com
     <image002.png>
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     received this material in error, please delete this message and any attachments without storing it
     and notify the sender so that our address record can be corrected.




     From: Suzanne Simms <Suzannes@daveramsey.com>
     Date: Tuesday,                   at 10:45 AM
     To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
     <armando.lopez@daveramsey.com>, Committee - HR
     <HRCommittee@daveramsey.com>
     Subject: Re: Team Member Concern

     Damn! EXACT same timeline and story!?

     Suzanne Simms
     EVP, Consumer Division
     Ramsey Solutions


     From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
     Sent: Tuesday,                 11:44 AM
     To: Armando Lopez; Committee - HR
     Subject: Re: Team Member Concern

     Well we have a template on how to handle I guess. When it rains, it pours!


     From: Armando Lopez <armando.lopez@daveramsey.com>
     Date: Tuesday,             at 10:43 AM
     To: Committee - HR <HRCommittee@daveramsey.com>
     Subject: FW: Team Member Concern

     FYI - I will meet with        today! Crap…

     Armando Lopez | Executive Director of Human Resources
     Ramsey Solutions
     1749 Mallory Lane, Brentwood, TN 37027
     T: 615.515.3223, ext. 5045 | M: 615.390.9368
     www.daveramsey.com

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                                           CONFIDENTIAL                                                    DEFENDANT 1093
     <image003.png>
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     received this material in error, please delete this message and any attachments without storing it
     and notify the sender so that our address record can be corrected.




     From:                                      >
     Date: Tuesday,                at 10:31 AM
     To: Eric Lackey <EricL@daveramsey.com>, Rick Perry
     <Rick.Perry@daveramsey.com>, Armando Lopez
     <armando.lopez@daveramsey.com>, Michael Finney
     <Michael.Finney@daveramsey.com>,
                                          >
     Subject: Team Member Concern

     Gentlemen,

     I wanted to let you all know about something that I just learned about in my one-on-
     one with                this morning.

     He informed me that he and his wife are expecting their first child in             . The
     issue is that they just got married over the               . So here is the timeline that
     I have.




     Rick and Armando I will be looking to get some time with you today or tomorrow to
     figure out the next steps.


     Thanks,




     Ramsey Solutions
     www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 68 of 256 PageID #: 5487
                                           CONFIDENTIAL                                                    DEFENDANT 1094
From:            Jack Galloway
To:              Jennifer Sievertsen; Armando Lopez; Suzanne Simms; Committee - HR
Subject:         RE: Team Member Concern
Date:            Tuesday,                  12:42:03 PM
Attachments:     image001.png
                 image002.png


This guy hasn’t even passed his 90 days yet.                              In fact, they were two months
prego when he started. People…

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jack Galloway
Sent: Tuesday,                  12:36 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>; Committee -
HR <HRCommittee@daveramsey.com>
Subject: RE: Team Member Concern

(sigh)

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 69 of 256 PageID #: 5488
                                             CONFIDENTIAL                                           DEFENDANT 1095
Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 70 of 256 PageID #: 5489
                                              CONFIDENTIAL                                                    DEFENDANT 1096
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From:
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 71 of 256 PageID #: 5490
                                              CONFIDENTIAL                                                    DEFENDANT 1097
Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 72 of 256 PageID #: 5491
                              CONFIDENTIAL                             DEFENDANT 1098
From:
To:
Subject:
Date:
Attachments:




Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Suzanne Simms
Sent: Tuesday,                2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

Feels like he would’ve said all that by now...?!

I’m good with     .

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                 2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern

Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
      highly doubt it)



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 73 of 256 PageID #: 5492
                                       CONFIDENTIAL                                         DEFENDANT 1099
Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

      started with us on                . He makes $55k

I’m leaning towards        which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 74 of 256 PageID #: 5493
                                          CONFIDENTIAL                                         DEFENDANT 1100
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
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From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 75 of 256 PageID #: 5494
                                              CONFIDENTIAL                                                    DEFENDANT 1101
Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 76 of 256 PageID #: 5495
                                              CONFIDENTIAL                                                    DEFENDANT 1102
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From:                                                   >
Date: Tuesday,                         at 10:31 AM


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 77 of 256 PageID #: 5496
                                              CONFIDENTIAL                                                    DEFENDANT 1103
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                    >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




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www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 78 of 256 PageID #: 5497
                                        CONFIDENTIAL                                           DEFENDANT 1104
From:              Michael Finney
To:                Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject:           RE: Team Member Concern
Date:              Tuesday,                 2:25:46 PM
Attachments:       image001.png
                   image002.png
                   image003.png


The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                    . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
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                                                CONFIDENTIAL                                                DEFENDANT 1105
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attachments without storing it and notify the sender so that our address record can be corrected.




From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here          .

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,                      10:51 AM


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 80 of 256 PageID #: 5499
                                              CONFIDENTIAL                                                    DEFENDANT 1106
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 81 of 256 PageID #: 5500
                                              CONFIDENTIAL                                                    DEFENDANT 1107
From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 82 of 256 PageID #: 5501
                                              CONFIDENTIAL                                                    DEFENDANT 1108
He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 83 of 256 PageID #: 5502
                                        CONFIDENTIAL                                           DEFENDANT 1109
From:
To:
Subject:
Date:
Attachments:




From:
Sent:
To:


Subject:

One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
need to be quite as generous to a guy that had already gotten a girl pregnant when he
started as we were with        . And he’s literally been working here          .

Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From:
Sent:
To:

Subject:




From:
Date:
To:

Subject:




Armando Lopez | Executive Director of Human Resources

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 84 of 256 PageID #: 5503
                                  CONFIDENTIAL                                   DEFENDANT 1110
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From:
Date:
To:

Subject:




From:
Sent:
To:
Subject:




From:
Date:
To:
Subject:




                            | Executive Director of Human Resources

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 85 of 256 PageID #: 5504
                                              CONFIDENTIAL                                                    DEFENDANT 1111
Armando Lopez
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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From:
Date:
To:




Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 86 of 256 PageID #: 5505
                                              CONFIDENTIAL                                                    DEFENDANT 1112
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 87 of 256 PageID #: 5506
                              CONFIDENTIAL                             DEFENDANT 1113
From:
To:
Subject:
Date:
Attachments:




Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Suzanne Simms
Sent: Tuesday,                2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

Feels like he would’ve said all that by now...?!

I’m good with     .

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                 2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern

Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 88 of 256 PageID #: 5507
                                       CONFIDENTIAL                                         DEFENDANT 1114
      highly doubt it)

Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

      started with us on                . He makes $55k

I’m leaning towards        which is what we offer people who opt out in 90 days. Thoughts?


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 89 of 256 PageID #: 5508
                                          CONFIDENTIAL                                         DEFENDANT 1115
Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 90 of 256 PageID #: 5509
                                              CONFIDENTIAL                                                    DEFENDANT 1116
Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?

Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
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From: Suzanne Simms <Suzannes@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 91 of 256 PageID #: 5510
                                              CONFIDENTIAL                                                    DEFENDANT 1117
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…


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Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 92 of 256 PageID #: 5511
                                              CONFIDENTIAL                                                    DEFENDANT 1118
From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
next steps.


Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 93 of 256 PageID #: 5512
                                        CONFIDENTIAL                                           DEFENDANT 1119
From:
To:
Subject:
Date:
Attachments:




Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,               4:19 PM
To: Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

FYI – I gave Dave a heads up in my meeting with him since this email came across right then. Still let
him know what we’re recommending but he already is aware there’s a team member who’s been
here 5 minutes that did this.


From: Jack Galloway <jack@daveramsey.com>
Date: Tuesday,                   at 4:17 PM
To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: RE: Team Member Concern




Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Suzanne Simms


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 94 of 256 PageID #: 5513
                                         CONFIDENTIAL                                           DEFENDANT 1120
Sent: Tuesday,                2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern

Feels like he would’ve said all that by now...?!

I’m good with     .

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                 2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern

Wow. That didn’t come out right.

      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
      highly doubt it)

Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
it and he told her dad and they talked with their pastor and and and…… would that change anything?

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Michael Finney
Sent: Tuesday,               2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 95 of 256 PageID #: 5514
                                       CONFIDENTIAL                                          DEFENDANT 1121
The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
people all the time to who kids out of wedlock.

My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
had to call it out before we make the final decision.

___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions



From: Armando Lopez
Sent: Tuesday,                  2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern

Nothing new to report after meeting with      . Righteous living was discussed with     at
interview and brought up at spousal lunch with       & his wife      .      showed up alone since
he was not married and conversations were had to insure he understood our core value and stance.

       started with us on                   . He makes $55k

I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?


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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 96 of 256 PageID #: 5515
                                              CONFIDENTIAL                                                    DEFENDANT 1122
From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                  at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.


From: Jack Galloway
Sent: Tuesday,                    1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern




Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,              10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Let’s email the details and determine if there’s a reason to meet or not.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 97 of 256 PageID #: 5516
                                         CONFIDENTIAL                             DEFENDANT 1123
From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,               at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
HRC meeting or wait?


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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attachments without storing it and notify the sender so that our address record can be corrected.




From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                   at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Damn! EXACT same timeline and story!?

Suzanne Simms
EVP, Consumer Division
Ramsey Solutions


From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                 11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 98 of 256 PageID #: 5517
                                              CONFIDENTIAL                                                    DEFENDANT 1124
Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,             at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with         today! Crap…


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
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attachments without storing it and notify the sender so that our address record can be corrected.




From:                                      >
Date: Tuesday,                at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
                                     >
Subject: Team Member Concern

Gentlemen,

I wanted to let you all know about something that I just learned about in my one-on-one with
       this morning.

He informed me that he and his wife are expecting their first child in            . The issue is that
they just got married over the               . So here is the timeline that I have.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 99 of 256 PageID #: 5518
                                              CONFIDENTIAL                                                    DEFENDANT 1125
 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 100 of 256 PageID #: 5519
                                        CONFIDENTIAL                                         DEFENDANT 1126
 From:            Michael Finney
 To:              Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject:         RE: Team Member Concern
 Date:            Tuesday,                 2:30:34 PM
 Attachments:     image001.png
                  image002.png
                  image003.png


 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 101 of 256 PageID #: 5520
                                               CONFIDENTIAL                                      DEFENDANT 1127
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
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 www.daveramsey.com




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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 102 of 256 PageID #: 5521
                                               CONFIDENTIAL                                                    DEFENDANT 1128
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
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 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 T: 615.515.3223, ext. 5045 | M: 615.390.9368


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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 105 of 256 PageID #: 5524
                                               CONFIDENTIAL                                                    DEFENDANT 1131
 From:
 To:
 Subject:
 Date:
 Attachments:




 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
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 1749 Mallory Lane, Brentwood, TN 37027
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

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 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 108 of 256 PageID #: 5527
                                               CONFIDENTIAL                                                    DEFENDANT 1134
 From:
 To:
 Subject:
 Date:
 Attachments:




 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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                                               CONFIDENTIAL                                                    DEFENDANT 1135
 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with        today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 111 of 256 PageID #: 5530
                                               CONFIDENTIAL                                                    DEFENDANT 1137
 From:
 To:
 Subject:
 Date:
 Attachments:




 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with     .

 Suzanne Simms
 EVP, Consumer Division

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 112 of 256 PageID #: 5531
                                        CONFIDENTIAL                                  DEFENDANT 1138
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 113 of 256 PageID #: 5532
                                         CONFIDENTIAL                                           DEFENDANT 1139
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 114 of 256 PageID #: 5533
                                               CONFIDENTIAL                                                    DEFENDANT 1140
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 115 of 256 PageID #: 5534
                                          CONFIDENTIAL                                         DEFENDANT 1141
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 116 of 256 PageID #: 5535
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 1749 Mallory Lane, Brentwood, TN 37027
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 www.daveramsey.com




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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 117 of 256 PageID #: 5536
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 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 118 of 256 PageID #: 5537
                               CONFIDENTIAL                            DEFENDANT 1144
 From:
 To:
 Subject:
 Date:
 Attachments:


 It was a hard one, he made no excuses and owned his mistake. There were tears and prayers and we
 ended in a good place. We offered help in finding employment, but he is beginning with two
 companies that he was in process with when we offered. Both of those companies had also offered
 and           has already texted a few of his contacts and has few interested in speaking to him.

 Armando

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                 at 3:40 PM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject:

           ,           and I sat down with             It was a tough one.

 When he was interviewing he did not know that his girlfriend was pregnant. After they found out,
 they made plans to get married and, in his words, “do the right thing.” He talked about how he
 knows he messed up and how thankful he has been to the families and his church that are helping
 them walk this out the right way.

 He was surprised that we were letting him go. He felt like getting married and making the lifelong
 commitment would be the right thing to do. In the end, though, he said he understood that we have
 to be consistent with what we say. There were quite a few tears but he’s going to be alright. He’s a
 good kid.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 119 of 256 PageID #: 5538
                                               CONFIDENTIAL                                                    DEFENDANT 1145
          did a great job of letting    open the conversation.   also did a good job delivering
 the bad news to         They are with Armando now.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 120 of 256 PageID #: 5539
                                        CONFIDENTIAL                                    DEFENDANT 1146
From:
To:
Subject:
Date:
Attachments:




From: Michael Finney <michael.finney@daveramsey.com>
Sent: Wednesday,                   9:49 AM
To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
Subject: Re: Team Member Concern


I think it should be        and      . I can be there, too. But I’ve never spoken to him outside of a
quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)


I like your approach on the conversation.


From: Jack Galloway <jack@daveramsey.com>
Date: Wednesday,                     at 9:45 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
<Mark.Floyd@daveramsey.com>
Subject: RE: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 121 of 256 PageID #: 5540
                                            CONFIDENTIAL                                          DEFENDANT 1147
Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Suzanne Simms
Sent: Tuesday,                 2:31 PM
To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
<armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
Subject: Re: Team Member Concern


Feels like he would’ve said all that by now...?!


I’m good with      .


Suzanne Simms
EVP, Consumer Division
Ramsey Solutions



From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                     2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern

Wow. That didn’t come out right.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 122 of 256 PageID #: 5541
                                         CONFIDENTIAL                                 DEFENDANT 1148
      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I highly
      doubt it)


Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about it
and he told her dad and they talked with their pastor and and and…… would that change anything?


___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions




From: Michael Finney
Sent: Tuesday,                   2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway
<jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern


The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire people
all the time to who kids out of wedlock.


My question would be would that change anything? I’m 99% sure that doesn’t change things. But I had
to call it out before we make the final decision.


___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions




From: Armando Lopez
Sent: Tuesday,                   2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 123 of 256 PageID #: 5542
                                           CONFIDENTIAL                                          DEFENDANT 1149
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern


Nothing new to report after meeting with              . Righteous living was discussed with             at interview
and brought up at spousal lunch with             & his wife         .           showed up alone since he was not
married and conversations were had to insure he understood our core value and stance.


       started with us on                   . He makes $55k


I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
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storing it and notify the sender so that our address record can be corrected.




From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                         at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 124 of 256 PageID #: 5543
                                                CONFIDENTIAL                                                    DEFENDANT 1150
From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                    at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.


From: Jack Galloway
Sent: Tuesday,                   1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern




Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,                  10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern


Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,                    at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 125 of 256 PageID #: 5544
                                           CONFIDENTIAL                            DEFENDANT 1151
Subject: Re: Team Member Concern

Yep!       and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s HRC
meeting or wait?


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
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www.daveramsey.com




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storing it and notify the sender so that our address record can be corrected.




From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                         at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern


Damn! EXACT same timeline and story!?


Suzanne Simms
EVP, Consumer Division
Ramsey Solutions



From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                         11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 126 of 256 PageID #: 5545
                                                CONFIDENTIAL                                                    DEFENDANT 1152
Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,                         at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with        today! Crap…


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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storing it and notify the sender so that our address record can be corrected.




From:                                                   >
Date: Tuesday,                         at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>, Armando
Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
Subject: Team Member Concern

Gentlemen,


I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 127 of 256 PageID #: 5546
                                                CONFIDENTIAL                                                    DEFENDANT 1153
He informed me that he and his wife are expecting their first child in              . The issue is that
they just got married over the                 . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the next
steps.



Thanks,




Ramsey Solutions
www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 128 of 256 PageID #: 5547
                                          CONFIDENTIAL                                             DEFENDANT 1154
From:
To:
Subject:
Date:
Attachments:




From: Michael Finney <michael.finney@daveramsey.com>
Sent: Tuesday,                  2:30 PM
To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
Subject: RE: Team Member Concern


Wow. That didn’t come out right.


      I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
      them.
      Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I highly
      doubt it)


Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about it
and he told her dad and they talked with their pastor and and and…… would that change anything?


___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions




From: Michael Finney
Sent: Tuesday,                  2:26 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 129 of 256 PageID #: 5548
                                          CONFIDENTIAL                                           DEFENDANT 1155
<jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway
<jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern


The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire people
all the time to who kids out of wedlock.


My question would be would that change anything? I’m 99% sure that doesn’t change things. But I had
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___________________
Michael Finney
Chief Digital Officer
Ramsey Solutions




From: Armando Lopez
Sent: Tuesday,                   2:20 PM
To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>
Cc: Michael Finney <Michael.Finney@daveramsey.com>
Subject: Re: Team Member Concern


Nothing new to report after meeting with        . Righteous living was discussed with        at interview
and brought up at spousal lunch with        & his wife      .      showed up alone since he was not
married and conversations were had to insure he understood our core value and stance.


      started with us on                . He makes $55k


I’m leaning towards        which is what we offer people who opt out in 90 days. Thoughts?


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storing it and notify the sender so that our address record can be corrected.




From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
Date: Tuesday,                         at 1:17 PM
To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
<Suzannes@daveramsey.com>
Subject: Re: Team Member Concern

Yep – agree. It’s the probationary period.


From: Mark Floyd <Mark.Floyd@daveramsey.com>
Date: Tuesday,                         at 1:16 PM
To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern

Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.


From: Jack Galloway
Sent: Tuesday,                        1:15 PM
To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
<Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
Subject: RE: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 131 of 256 PageID #: 5550
                                                CONFIDENTIAL                                                    DEFENDANT 1157
Jack Galloway
Executive Vice President
Ramsey Solutions
www.daveramsey.com

From: Jennifer Sievertsen
Sent: Tuesday,                      10:51 AM
To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
<Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern


Let’s email the details and determine if there’s a reason to meet or not.


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,                         at 10:49 AM
To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
<jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern

Yep!       and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s HRC
meeting or wait?


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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storing it and notify the sender so that our address record can be corrected.




From: Suzanne Simms <Suzannes@daveramsey.com>
Date: Tuesday,                         at 10:45 AM
To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
<armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
Subject: Re: Team Member Concern


Damn! EXACT same timeline and story!?


Suzanne Simms
EVP, Consumer Division
Ramsey Solutions



From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
Sent: Tuesday,                         11:44 AM
To: Armando Lopez; Committee - HR
Subject: Re: Team Member Concern

Well we have a template on how to handle I guess. When it rains, it pours!


From: Armando Lopez <armando.lopez@daveramsey.com>
Date: Tuesday,                         at 10:43 AM
To: Committee - HR <HRCommittee@daveramsey.com>
Subject: FW: Team Member Concern

FYI - I will meet with        today! Crap…


Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
1749 Mallory Lane, Brentwood, TN 37027
T: 615.515.3223, ext. 5045 | M: 615.390.9368
www.daveramsey.com




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storing it and notify the sender so that our address record can be corrected.




From:                                                   >
Date: Tuesday,                         at 10:31 AM
To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>, Armando
Lopez <armando.lopez@daveramsey.com>, Michael Finney
<Michael.Finney@daveramsey.com>,
Subject: Team Member Concern

Gentlemen,


I wanted to let you all know about something that I just learned about in my one-on-one with
         this morning.


He informed me that he and his wife are expecting their first child in                        . The issue is that
they just got married over the                        . So here is the timeline that I have.




Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the next
steps.



Thanks,




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 134 of 256 PageID #: 5553
                                                CONFIDENTIAL                                                    DEFENDANT 1160
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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 135 of 256 PageID #: 5554
                               CONFIDENTIAL                            DEFENDANT 1161
 From:
 To:
 Subject:
 Date:
 Attachments:




 Will do

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 10:50 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 136 of 256 PageID #: 5555
                                               CONFIDENTIAL                                                    DEFENDANT 1162
 1749 Mallory Lane, Brentwood, TN 37027
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 137 of 256 PageID #: 5556
                                               CONFIDENTIAL                                                    DEFENDANT 1163
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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 139 of 256 PageID #: 5558
                               CONFIDENTIAL                            DEFENDANT 1165
 From:
 To:
 Subject:
 Date:
 Attachments:


 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 140 of 256 PageID #: 5559
                                               CONFIDENTIAL                                                    DEFENDANT 1166
 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 141 of 256 PageID #: 5560
                                         CONFIDENTIAL                                           DEFENDANT 1167
From:
To:
Subject:
Date:
Attachments:




From:
Sent:
To:
Subject:




From:
Date:
To:
Subject:




Armando Lopez | Executive Director of Human Resources
Ramsey Solutions
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                                                CONFIDENTIAL                                                    DEFENDANT 1168
storing it and notify the sender so that our address record can be corrected.




From:
Date:
To:



Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 143 of 256 PageID #: 5562
                                                CONFIDENTIAL                    DEFENDANT 1169
 From:
 To:
 Subject:
 Date:
 Attachments:




 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 144 of 256 PageID #: 5563
                                               CONFIDENTIAL                                                    DEFENDANT 1170
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 145 of 256 PageID #: 5564
                                               CONFIDENTIAL                                                    DEFENDANT 1171
 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 146 of 256 PageID #: 5565
                                         CONFIDENTIAL                                           DEFENDANT 1172
 From:
 To:
 Subject:
 Date:
 Attachments:




 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 147 of 256 PageID #: 5566
                                               CONFIDENTIAL                                                    DEFENDANT 1173
 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 148 of 256 PageID #: 5567
                                               CONFIDENTIAL                                                    DEFENDANT 1174
 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 149 of 256 PageID #: 5568
                                        CONFIDENTIAL                                         DEFENDANT 1175
 From:
 To:
 Cc:
 Subject:
 Date:
 Attachments:




       From: Michael Finney <michael.finney@daveramsey.com>
       Sent: Tuesday,                2:30 PM
       To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
       Subject: RE: Team Member Concern

       Wow. That didn’t come out right.

                I’m sure we hire people who had sex before marriage all the time. We don’t hold
                that against them.
                Maybe these two renewed their pledge to stay off each other after getting
                pregnant. (but I highly doubt it)

       Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they
       talked about it and he told her dad and they talked with their pastor and and and……
       would that change anything?

       ___________________
       Michael Finney
       Chief Digital Officer
       Ramsey Solutions




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 150 of 256 PageID #: 5569
                                          CONFIDENTIAL                                            DEFENDANT 1176
      From: Michael Finney
      Sent: Tuesday,               2:26 PM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
      <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
      Jack Galloway <jack@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern

      The only wrinkle in this whole thing is he got her pregnant before he started here. sure
      we hire people all the time to who kids out of wedlock.

      My question would be would that change anything? I’m 99% sure that doesn’t change
      things. But I had to call it out before we make the final decision.

      ___________________
      Michael Finney
      Chief Digital Officer
      Ramsey Solutions



      From: Armando Lopez
      Sent: Tuesday,                  2:20 PM
      To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
      <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne
      Simms <Suzannes@daveramsey.com>
      Cc: Michael Finney <Michael.Finney@daveramsey.com>
      Subject: Re: Team Member Concern

      Nothing new to report after meeting with      . Righteous living was discussed with
           at interview and brought up at spousal lunch with        & his wife      .
      showed up alone since he was not married and conversations were had to insure he
      understood our core value and stance.

            started with us on                . He makes $55k

      I’m leaning towards        which is what we offer people who opt out in 90 days.
      Thoughts?


      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
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                                         CONFIDENTIAL                                            DEFENDANT 1177
      <image001.png>
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      From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
      Date: Tuesday,                  at 1:17 PM
      To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway
      <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
      Suzanne Simms <Suzannes@daveramsey.com>
      Subject: Re: Team Member Concern

      Yep – agree. It’s the probationary period.


      From: Mark Floyd <Mark.Floyd@daveramsey.com>
      Date: Tuesday,                at 1:16 PM
      To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Jen Sievertsen
      <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern

      Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.


      From: Jack Galloway
      Sent: Tuesday,               1:15 PM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway
      <jack@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
      Mark Floyd <Mark.Floyd@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern




      Jack Galloway

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 152 of 256 PageID #: 5571
                                            CONFIDENTIAL                                                    DEFENDANT 1178
      Executive Vice President
      Ramsey Solutions
      www.daveramsey.com

      From: Jennifer Sievertsen
      Sent: Tuesday,              10:51 AM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Let’s email the details and determine if there’s a reason to meet or not.


      From: Armando Lopez <armando.lopez@daveramsey.com>
      Date: Tuesday,               at 10:49 AM
      To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
      <jennifer.sievertsen@daveramsey.com>, Committee - HR
      <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Yep!      and I will meet at lunch to gather additional detail. Should we meet prior to
      Thursday’s HRC meeting or wait?


      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
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      www.daveramsey.com
      <image002.png>
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      From: Suzanne Simms <Suzannes@daveramsey.com>
      Date: Tuesday,                   at 10:45 AM
      To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Committee - HR
      <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 153 of 256 PageID #: 5572
                                            CONFIDENTIAL                                                    DEFENDANT 1179
      Damn! EXACT same timeline and story!?

      Suzanne Simms
      EVP, Consumer Division
      Ramsey Solutions


      From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
      Sent: Tuesday,                 11:44 AM
      To: Armando Lopez; Committee - HR
      Subject: Re: Team Member Concern

      Well we have a template on how to handle I guess. When it rains, it pours!


      From: Armando Lopez <armando.lopez@daveramsey.com>
      Date: Tuesday,            9 at 10:43 AM
      To: Committee - HR <HRCommittee@daveramsey.com>
      Subject: FW: Team Member Concern

      FYI - I will meet with        today! Crap…


      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
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      received this material in error, please delete this message and any attachments without storing it
      and notify the sender so that our address record can be corrected.




      From:                                      >
      Date: Tuesday,                at 10:31 AM
      To: Eric Lackey <EricL@daveramsey.com>, Rick Perry
      <Rick.Perry@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Michael Finney
      <Michael.Finney@daveramsey.com>,
                                           >
      Subject: Team Member Concern

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 154 of 256 PageID #: 5573
                                            CONFIDENTIAL                                                    DEFENDANT 1180
      Gentlemen,

      I wanted to let you all know about something that I just learned about in my one-on-
      one with                this morning.

      He informed me that he and his wife are expecting their first child in             . The
      issue is that they just got married over the               . So here is the timeline that
      I have.




      Rick and Armando I will be looking to get some time with you today or tomorrow to
      figure out the next steps.



      Thanks,




      Ramsey Solutions
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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 155 of 256 PageID #: 5574
                                        CONFIDENTIAL                                              DEFENDANT 1181
 From:              Michael Finney
 To:                Suzanne Simms; Jack Galloway; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject:           Re: Team Member Concern
 Date:              Wednesday,                 9:51:06 AM
 Attachments:       image001.png
                    image002.png
                    image003.png


 I said I will be there, too!


 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Wednesday,                  at 9:50 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
 <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
 Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Finney, a board member has to be there.

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Wednesday,                 9:49 AM
 To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject: Re: Team Member Concern

 I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern

 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 156 of 256 PageID #: 5575
                                                 CONFIDENTIAL                                      DEFENDANT 1182
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with     .

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 157 of 256 PageID #: 5576
                                        CONFIDENTIAL                                  DEFENDANT 1183
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 158 of 256 PageID #: 5577
                                         CONFIDENTIAL                                           DEFENDANT 1184
 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 159 of 256 PageID #: 5578
                                               CONFIDENTIAL                                                    DEFENDANT 1185
 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 160 of 256 PageID #: 5579
                                          CONFIDENTIAL                                         DEFENDANT 1186
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 recipient, be advised that any unauthorized review, disclosure, reproduction, or dissemination of the contents of
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 161 of 256 PageID #: 5580
                                               CONFIDENTIAL                                                    DEFENDANT 1187
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 162 of 256 PageID #: 5581
                                               CONFIDENTIAL                                                    DEFENDANT 1188
 From:              Suzanne Simms
 To:                Michael Finney; Jack Galloway; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject:           Re: Team Member Concern
 Date:              Wednesday,                   9:56:11 AM
 Attachments:       image001.png
                    image002.png
                    image003.png


 Sorry!




 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                 at 9:51 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 I said I will be there, too!


 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Wednesday,                  at 9:50 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
 <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
 Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Finney, a board member has to be there.

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Wednesday,                 9:49 AM
 To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject: Re: Team Member Concern

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 163 of 256 PageID #: 5582
                                                 CONFIDENTIAL                                       DEFENDANT 1189
 I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern




 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 164 of 256 PageID #: 5583
                                         CONFIDENTIAL                                          DEFENDANT 1190
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with      .

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 165 of 256 PageID #: 5584
                                         CONFIDENTIAL                                           DEFENDANT 1191
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 166 of 256 PageID #: 5585
                                               CONFIDENTIAL                                                    DEFENDANT 1192
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern




 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 167 of 256 PageID #: 5586
                                          CONFIDENTIAL                             DEFENDANT 1193
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 168 of 256 PageID #: 5587
                                               CONFIDENTIAL                                                    DEFENDANT 1194
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 169 of 256 PageID #: 5588
                                               CONFIDENTIAL                                                    DEFENDANT 1195
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 170 of 256 PageID #: 5589
                               CONFIDENTIAL                            DEFENDANT 1196
 From:              Michael Finney
 To:                Jennifer Sievertsen; Suzanne Simms; Jack Galloway; Armando Lopez; Mark Floyd
 Subject:           Re: Team Member Concern
 Date:              Wednesday,                   9:56:33 AM
 Attachments:       image001.png
                    image002.png
                    image003.png


 Not sure. Armando can you find out?

 Also… sorry @Suzanne Simms, I said “can” be there but I meant “will”.


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Wednesday,                   at 9:53 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Is this guy and his wife on our insurance?


 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                 at 9:51 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 I said I will be there, too!


 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Wednesday,                  at 9:50 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
 <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
 Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Finney, a board member has to be there.

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 171 of 256 PageID #: 5590
                                                 CONFIDENTIAL                                      DEFENDANT 1197
 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Wednesday,                 9:49 AM
 To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject: Re: Team Member Concern

 I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern

 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 172 of 256 PageID #: 5591
                                         CONFIDENTIAL                                          DEFENDANT 1198
 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with     .

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 173 of 256 PageID #: 5592
                                        CONFIDENTIAL                                          DEFENDANT 1199
 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 174 of 256 PageID #: 5593
                                               CONFIDENTIAL                                                    DEFENDANT 1200
 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 175 of 256 PageID #: 5594
                                          CONFIDENTIAL                             DEFENDANT 1201
 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 176 of 256 PageID #: 5595
                                               CONFIDENTIAL                                                    DEFENDANT 1202
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 177 of 256 PageID #: 5596
                                               CONFIDENTIAL                                                    DEFENDANT 1203
 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 178 of 256 PageID #: 5597
                                        CONFIDENTIAL                                         DEFENDANT 1204
 From:
 To:
 Subject:
 Date:
 Attachments:




 Not on our insurance. He is                      so I’m assuming benefits through them, but in either case
 he is not on our plan.

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 this message is strictly prohibited. If you have received this material in error, please delete this message and any
 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                    at 9:56 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Not sure. Armando can you find out?

 Also… sorry @Suzanne Simms, I said “can” be there but I meant “will”.


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Wednesday,                   at 9:53 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 179 of 256 PageID #: 5598
                                               CONFIDENTIAL                                                    DEFENDANT 1205
 Is this guy and his wife on our insurance?


 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                 at 9:51 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 I said I will be there, too!


 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Wednesday,                  at 9:50 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
 <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
 Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Finney, a board member has to be there.

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Wednesday,                 9:49 AM
 To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject: Re: Team Member Concern

 I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 180 of 256 PageID #: 5599
                                          CONFIDENTIAL                                         DEFENDANT 1206
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern

 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with     .

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 181 of 256 PageID #: 5600
                                        CONFIDENTIAL                                  DEFENDANT 1207
 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 182 of 256 PageID #: 5601
                                         CONFIDENTIAL                                           DEFENDANT 1208
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 183 of 256 PageID #: 5602
                                               CONFIDENTIAL                                                    DEFENDANT 1209
 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here       eks.

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com



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 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368


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                                               CONFIDENTIAL                                                    DEFENDANT 1211
 www.daveramsey.com




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 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in           9. The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 186 of 256 PageID #: 5605
                                               CONFIDENTIAL                                                    DEFENDANT 1212
 From:
 To:
 Cc:
 Subject:
 Date:
 Attachments:


 I don’t think this is time sensitive… different than    in that the leader did not stop to say this is a
 concern and I’m taking higher for a decision. In other words        doesn’t even think there is a
 problem as of now.

 That said I think we have time

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Tuesday,                at 4:58 PM
 To: Jack Galloway <jack@daveramsey.com>
 Cc: Suzanne Simms <Suzannes@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 I’m pretty sure          is gone. No concern if we wait until tomorrow.

 (sent from mobile)

 On                , at 4:52 PM, Jack Galloway <jack@daveramsey.com> wrote:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 187 of 256 PageID #: 5606
                                               CONFIDENTIAL                                                    DEFENDANT 1213
      Jack Galloway
      Executive Vice President
      Ramsey Solutions
      www.daveramsey.com

      From: Suzanne Simms
      Sent: Tuesday,                2:31 PM
      To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
      <armando.lopez@daveramsey.com>; Jennifer Sievertsen
      <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
      Jack Galloway <jack@daveramsey.com>
      Subject: Re: Team Member Concern

      Feels like he would’ve said all that by now...?!

      I’m good with      .

      Suzanne Simms
      EVP, Consumer Division
      Ramsey Solutions


      From: Michael Finney <michael.finney@daveramsey.com>
      Sent: Tuesday,                 2:30 PM
      To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne
      Simms
      Subject: RE: Team Member Concern

      Wow. That didn’t come out right.

            I’m sure we hire people who had sex before marriage all the time. We don’t hold
            that against them.
            Maybe these two renewed their pledge to stay off each other after getting
            pregnant. (but I highly doubt it)

      Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they
      talked about it and he told her dad and they talked with their pastor and and and……
      would that change anything?

      ___________________


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 188 of 256 PageID #: 5607
                                         CONFIDENTIAL                                           DEFENDANT 1214
      Michael Finney
      Chief Digital Officer
      Ramsey Solutions



      From: Michael Finney
      Sent: Tuesday,               2:26 PM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
      <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
      Jack Galloway <jack@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern

      The only wrinkle in this whole thing is he got her pregnant before he started here. sure
      we hire people all the time to who kids out of wedlock.

      My question would be would that change anything? I’m 99% sure that doesn’t change
      things. But I had to call it out before we make the final decision.

      ___________________
      Michael Finney
      Chief Digital Officer
      Ramsey Solutions



      From: Armando Lopez
      Sent: Tuesday,                  2:20 PM
      To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
      <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne
      Simms <Suzannes@daveramsey.com>
      Cc: Michael Finney <Michael.Finney@daveramsey.com>
      Subject: Re: Team Member Concern

      Nothing new to report after meeting with      . Righteous living was discussed with
           at interview and brought up at spousal lunch with        & his wife      .
      showed up alone since he was not married and conversations were had to insure he
      understood our core value and stance.

            started with us on                . He makes $55k

      I’m leaning towards        which is what we offer people who opt out in 90 days.
      Thoughts?

      Armando Lopez | Executive Director of Human Resources

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 189 of 256 PageID #: 5608
                                         CONFIDENTIAL                                            DEFENDANT 1215
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
      T: 615.515.3223, ext. 5045 | M: 615.390.9368
      www.daveramsey.com
      <image001.png>
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      From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
      Date: Tuesday,                  at 1:17 PM
      To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway
      <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
      Suzanne Simms <Suzannes@daveramsey.com>
      Subject: Re: Team Member Concern

      Yep – agree. It’s the probationary period.


      From: Mark Floyd <Mark.Floyd@daveramsey.com>
      Date: Tuesday,                at 1:16 PM
      To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Jen Sievertsen
      <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern

      Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

      From: Jack Galloway
      Sent: Tuesday,               1:15 PM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway
      <jack@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
      Mark Floyd <Mark.Floyd@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 190 of 256 PageID #: 5609
                                            CONFIDENTIAL                                                    DEFENDANT 1216
      Jack Galloway
      Executive Vice President
      Ramsey Solutions
      www.daveramsey.com

      From: Jennifer Sievertsen
      Sent: Tuesday,              10:51 AM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Let’s email the details and determine if there’s a reason to meet or not.


      From: Armando Lopez <armando.lopez@daveramsey.com>
      Date: Tuesday,               at 10:49 AM
      To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
      <jennifer.sievertsen@daveramsey.com>, Committee - HR
      <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Yep!      and I will meet at lunch to gather additional detail. Should we meet prior to
      Thursday’s HRC meeting or wait?

      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
      T: 615.515.3223, ext. 5045 | M: 615.390.9368
      www.daveramsey.com
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      received this material in error, please delete this message and any attachments without storing it
      and notify the sender so that our address record can be corrected.




      From: Suzanne Simms <Suzannes@daveramsey.com>
      Date: Tuesday,                   at 10:45 AM
      To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Committee - HR
      <HRCommittee@daveramsey.com>

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 191 of 256 PageID #: 5610
                                            CONFIDENTIAL                                                    DEFENDANT 1217
      Subject: Re: Team Member Concern

      Damn! EXACT same timeline and story!?

      Suzanne Simms
      EVP, Consumer Division
      Ramsey Solutions


      From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
      Sent: Tuesday,                 11:44 AM
      To: Armando Lopez; Committee - HR
      Subject: Re: Team Member Concern

      Well we have a template on how to handle I guess. When it rains, it pours!


      From: Armando Lopez <armando.lopez@daveramsey.com>
      Date: Tuesday,             at 10:43 AM
      To: Committee - HR <HRCommittee@daveramsey.com>
      Subject: FW: Team Member Concern

      FYI - I will meet with        today! Crap…

      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
      T: 615.515.3223, ext. 5045 | M: 615.390.9368
      www.daveramsey.com
      <image003.png>
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      received this material in error, please delete this message and any attachments without storing it
      and notify the sender so that our address record can be corrected.




      From:                                      >
      Date: Tuesday,                at 10:31 AM
      To: Eric Lackey <EricL@daveramsey.com>, Rick Perry
      <Rick.Perry@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Michael Finney
      <Michael.Finney@daveramsey.com>,


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 192 of 256 PageID #: 5611
                                            CONFIDENTIAL                                                    DEFENDANT 1218
      Subject: Team Member Concern

      Gentlemen,

      I wanted to let you all know about something that I just learned about in my one-on-
      one with                this morning.

      He informed me that he and his wife are expecting their first child in             . The
      issue is that they just got married over the               . So here is the timeline that
      I have.




      Rick and Armando I will be looking to get some time with you today or tomorrow to
      figure out the next steps.


      Thanks,




      Ramsey Solutions
      www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 193 of 256 PageID #: 5612
                                        CONFIDENTIAL                                              DEFENDANT 1219
 From:
 To:
 Cc:
 Subject:
 Date:
 Attachments:




 I’m pretty sure        is gone. No concern if we wait until tomorrow.

 (sent from mobile)

 On                , at 4:52 PM, Jack Galloway <jack@daveramsey.com> wrote:


       I’ve emailed Dave (20 mins ago) and will probably hear back soon; but how
       time sensitive is this? Is    here till 5:30 or already gone home for the
       day?

       Jack Galloway
       Executive Vice President
       Ramsey Solutions
       www.daveramsey.com

       From: Suzanne Simms
       Sent: Tuesday,                2:31 PM
       To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
       <armando.lopez@daveramsey.com>; Jennifer Sievertsen
       <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
       Jack Galloway <jack@daveramsey.com>
       Subject: Re: Team Member Concern

       Feels like he would’ve said all that by now...?!

       I’m good with       .

       Suzanne Simms
       EVP, Consumer Division
       Ramsey Solutions


       From: Michael Finney <michael.finney@daveramsey.com>
       Sent: Tuesday,                 2:30 PM
       To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 194 of 256 PageID #: 5613
                                        CONFIDENTIAL                                   DEFENDANT 1220
      Simms
      Subject: RE: Team Member Concern

      Wow. That didn’t come out right.

            I’m sure we hire people who had sex before marriage all the time. We don’t hold
            that against them.
            Maybe these two renewed their pledge to stay off each other after getting
            pregnant. (but I highly doubt it)

      Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they
      talked about it and he told her dad and they talked with their pastor and and and……
      would that change anything?

      ___________________
      Michael Finney
      Chief Digital Officer
      Ramsey Solutions



      From: Michael Finney
      Sent: Tuesday,               2:26 PM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
      <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>;
      Jack Galloway <jack@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern

      The only wrinkle in this whole thing is he got her pregnant before he started here. sure
      we hire people all the time to who kids out of wedlock.

      My question would be would that change anything? I’m 99% sure that doesn’t change
      things. But I had to call it out before we make the final decision.

      ___________________
      Michael Finney
      Chief Digital Officer
      Ramsey Solutions



      From: Armando Lopez
      Sent: Tuesday,                  2:20 PM
      To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
      <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 195 of 256 PageID #: 5614
                                         CONFIDENTIAL                                            DEFENDANT 1221
      Simms <Suzannes@daveramsey.com>
      Cc: Michael Finney <Michael.Finney@daveramsey.com>
      Subject: Re: Team Member Concern

      Nothing new to report after meeting with      . Righteous living was discussed with
           at interview and brought up at spousal lunch with        & his wife      .
      showed up alone since he was not married and conversations were had to insure he
      understood our core value and stance.

             started with us on                  . He makes $55k

      I’m leaning towards         which is what we offer people who opt out in 90 days.
      Thoughts?

      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
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      received this material in error, please delete this message and any attachments without storing it
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      From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
      Date: Tuesday,                  at 1:17 PM
      To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway
      <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
      Suzanne Simms <Suzannes@daveramsey.com>
      Subject: Re: Team Member Concern

      Yep – agree. It’s the probationary period.


      From: Mark Floyd <Mark.Floyd@daveramsey.com>
      Date: Tuesday,                at 1:16 PM
      To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Jen Sievertsen
      <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 196 of 256 PageID #: 5615
                                            CONFIDENTIAL                                                    DEFENDANT 1222
      Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

      From: Jack Galloway
      Sent: Tuesday,               1:15 PM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway
      <jack@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
      Mark Floyd <Mark.Floyd@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>
      Subject: RE: Team Member Concern

      One thing we’d need to land on is severance. Call me a hard @$$; but I’m
      not sure we need to be quite as generous to a guy that had already gotten a
      girl pregnant when he started as we were with        . And he’s literally
      been working here          .

      Jack Galloway
      Executive Vice President
      Ramsey Solutions
      www.daveramsey.com

      From: Jennifer Sievertsen
      Sent: Tuesday,              10:51 AM
      To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
      <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Let’s email the details and determine if there’s a reason to meet or not.


      From: Armando Lopez <armando.lopez@daveramsey.com>
      Date: Tuesday,               at 10:49 AM
      To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
      <jennifer.sievertsen@daveramsey.com>, Committee - HR
      <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Yep!      and I will meet at lunch to gather additional detail. Should we meet prior to
      Thursday’s HRC meeting or wait?

      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 197 of 256 PageID #: 5616
                                        CONFIDENTIAL                                            DEFENDANT 1223
      T: 615.515.3223, ext. 5045 | M: 615.390.9368
      www.daveramsey.com
      <image002.png>
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      received this material in error, please delete this message and any attachments without storing it
      and notify the sender so that our address record can be corrected.




      From: Suzanne Simms <Suzannes@daveramsey.com>
      Date: Tuesday,                   at 10:45 AM
      To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Committee - HR
      <HRCommittee@daveramsey.com>
      Subject: Re: Team Member Concern

      Damn! EXACT same timeline and story!?

      Suzanne Simms
      EVP, Consumer Division
      Ramsey Solutions


      From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
      Sent: Tuesday,                 11:44 AM
      To: Armando Lopez; Committee - HR
      Subject: Re: Team Member Concern

      Well we have a template on how to handle I guess. When it rains, it pours!


      From: Armando Lopez <armando.lopez@daveramsey.com>
      Date: Tuesday,             at 10:43 AM
      To: Committee - HR <HRCommittee@daveramsey.com>
      Subject: FW: Team Member Concern

      FYI - I will meet with        today! Crap…

      Armando Lopez | Executive Director of Human Resources
      Ramsey Solutions
      1749 Mallory Lane, Brentwood, TN 37027
      T: 615.515.3223, ext. 5045 | M: 615.390.9368
      www.daveramsey.com

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                                            CONFIDENTIAL                                                    DEFENDANT 1224
      <image003.png>
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      received this material in error, please delete this message and any attachments without storing it
      and notify the sender so that our address record can be corrected.




      From:
      Date: Tuesday,                at 10:31 AM
      To: Eric Lackey <EricL@daveramsey.com>, Rick Perry
      <Rick.Perry@daveramsey.com>, Armando Lopez
      <armando.lopez@daveramsey.com>, Michael Finney
      <Michael.Finney@daveramsey.com>,
                                           >
      Subject: Team Member Concern

      Gentlemen,

      I wanted to let you all know about something that I just learned about in my one-on-
      one with                this morning.

      He informed me that he and his wife are expecting their first child in             . The
      issue is that they just got married over the               . So here is the timeline that
      I have.




      Rick and Armando I will be looking to get some time with you today or tomorrow to
      figure out the next steps.


      Thanks,




      Ramsey Solutions
      www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 199 of 256 PageID #: 5618
                                            CONFIDENTIAL                                                    DEFENDANT 1225
 From:
 To:
 Cc:
 Subject:
 Date:
 Attachments:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 From:
 Date:
 To:



 Subject:




 From:
 Date:
 To:


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 200 of 256 PageID #: 5619
                                               CONFIDENTIAL                                                    DEFENDANT 1226
 Subject:




 From:
 Sent:
 To:


 Subject:

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From:
 Sent:
 To:

 Subject:




 From:
 Date:
 To:

 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 201 of 256 PageID #: 5620
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 From:
 Date:
 To:

 Subject:




 From:
 Sent:
 To:
 Subject:




 From:
 Date:
 To:
 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 202 of 256 PageID #: 5621
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 From:
 Date:
 To:




 Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 203 of 256 PageID #: 5622
                                               CONFIDENTIAL                                                    DEFENDANT 1229
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 204 of 256 PageID #: 5623
                               CONFIDENTIAL                            DEFENDANT 1230
 From:            Michael Finney
 To:              Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject:         Re: Team Member Concern
 Date:            Wednesday,                 9:49:57 AM
 Attachments:     image001.png
                  image002.png
                  image003.png


 I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern

 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 205 of 256 PageID #: 5624
                                               CONFIDENTIAL                                      DEFENDANT 1231
 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with     .

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 206 of 256 PageID #: 5625
                                        CONFIDENTIAL                                          DEFENDANT 1232
 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 207 of 256 PageID #: 5626
                                               CONFIDENTIAL                                                    DEFENDANT 1233
 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 208 of 256 PageID #: 5627
                                          CONFIDENTIAL                             DEFENDANT 1234
 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 209 of 256 PageID #: 5628
                                               CONFIDENTIAL                                                    DEFENDANT 1235
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 210 of 256 PageID #: 5629
                                               CONFIDENTIAL                                                    DEFENDANT 1236
 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




 Ramsey Solutions
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 211 of 256 PageID #: 5630
                                        CONFIDENTIAL                                         DEFENDANT 1237
 From:
 To:
 Subject:
 Date:




 From:
 Date:
 To:
 Subject:




 Michael Finney
 Chief Digital Officer
 Ramsey Solutions




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 212 of 256 PageID #: 5631
                               CONFIDENTIAL                            DEFENDANT 1238
 From:
 To:
 Subject:
 Date:
 Attachments:




 Is this guy and his wife on our insurance?


 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                 at 9:51 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 I said I will be there, too!


 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Wednesday,                  at 9:50 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
 <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
 Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Finney, a board member has to be there.

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Wednesday,                 9:49 AM
 To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject: Re: Team Member Concern

 I think it should be      and      . I can be there, too. But I’ve never spoken to him outside of a
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 213 of 256 PageID #: 5632
                                          CONFIDENTIAL                                         DEFENDANT 1239
 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern

 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with     .


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 214 of 256 PageID #: 5633
                                        CONFIDENTIAL                                  DEFENDANT 1240
 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 215 of 256 PageID #: 5634
                                         CONFIDENTIAL                                           DEFENDANT 1241
 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 216 of 256 PageID #: 5635
                                               CONFIDENTIAL                                                    DEFENDANT 1242
 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 217 of 256 PageID #: 5636
                                          CONFIDENTIAL                                         DEFENDANT 1243
 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 218 of 256 PageID #: 5637
                                               CONFIDENTIAL                                                    DEFENDANT 1244
 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:                                      >
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 219 of 256 PageID #: 5638
                                               CONFIDENTIAL                                                    DEFENDANT 1245
 Ramsey Solutions
 www.daveramsey.com




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 220 of 256 PageID #: 5639
                               CONFIDENTIAL                            DEFENDANT 1246
 From:
 To:
 Subject:
 Date:
 Attachments:




 From:
 Date:
 To:



 Subject:




 From:
 Sent:
 To:


 Subject:

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From:
 Sent:
 To:

 Subject:




 From:


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 221 of 256 PageID #: 5640
                                   CONFIDENTIAL                                   DEFENDANT 1247
 Date:
 To:

 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:
 Date:
 To:

 Subject:




 From:
 Sent:
 To:
 Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 222 of 256 PageID #: 5641
                                               CONFIDENTIAL                                                    DEFENDANT 1248
 From:
 Date:
 To:
 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:
 Date:
 To:




 Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 223 of 256 PageID #: 5642
                                               CONFIDENTIAL                                                    DEFENDANT 1249
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 224 of 256 PageID #: 5643
                               CONFIDENTIAL                            DEFENDANT 1250
 From:
 To:
 Subject:
 Date:
 Attachments:




 nope


 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Tuesday,                at 2:25 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>, Jack
 Galloway <jack@daveramsey.com>, Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 225 of 256 PageID #: 5644
                                            CONFIDENTIAL                                        DEFENDANT 1251
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 226 of 256 PageID #: 5645
                                               CONFIDENTIAL                                                    DEFENDANT 1252
 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 227 of 256 PageID #: 5646
                                               CONFIDENTIAL                                                    DEFENDANT 1253
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:
 Date: Tuesday,                         at 10:31 AM


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 228 of 256 PageID #: 5647
                                               CONFIDENTIAL                                                    DEFENDANT 1254
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                     >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 229 of 256 PageID #: 5648
                                         CONFIDENTIAL                                           DEFENDANT 1255
 From:
 To:
 Subject:
 Date:
 Attachments:


 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 230 of 256 PageID #: 5649
                                               CONFIDENTIAL                                                    DEFENDANT 1256
 He informed me that he and his wife are expecting their first child in           9. The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 231 of 256 PageID #: 5650
                                         CONFIDENTIAL                                           DEFENDANT 1257
 From:
 To:
 Subject:
 Date:
 Attachments:




 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 232 of 256 PageID #: 5651
                                               CONFIDENTIAL                                                    DEFENDANT 1258
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
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 www.daveramsey.com




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 attachments without storing it and notify the sender so that our address record can be corrected.




 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,



Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 233 of 256 PageID #: 5652
                                               CONFIDENTIAL                                                    DEFENDANT 1259
 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 234 of 256 PageID #: 5653
                                         CONFIDENTIAL                                           DEFENDANT 1260
 From:
 To:
 Subject:
 Date:
 Attachments:




 FYI – I gave Dave a heads up in my meeting with him since this email came across right then. Still let
 him know what we’re recommending but he already is aware there’s a team member who’s been
 here 5 minutes that did this.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Tuesday,                   at 4:17 PM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern




 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern

 Feels like he would’ve said all that by now...?!

 I’m good with

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 235 of 256 PageID #: 5654
                                          CONFIDENTIAL                                           DEFENDANT 1261
 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                 2:20 PM


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 236 of 256 PageID #: 5655
                                          CONFIDENTIAL                                          DEFENDANT 1262
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?

 Armando Lopez | Executive Director of Human Resources
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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 237 of 256 PageID #: 5656
                                               CONFIDENTIAL                                                    DEFENDANT 1263
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern




 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 238 of 256 PageID #: 5657
                                          CONFIDENTIAL                                         DEFENDANT 1264
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 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 239 of 256 PageID #: 5658
                                               CONFIDENTIAL                                                    DEFENDANT 1265
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
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 attachments without storing it and notify the sender so that our address record can be corrected.




 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,

 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in             The issue is that
 they just got married over the                So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.


 Thanks,




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 www.daveramsey.com


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 240 of 256 PageID #: 5659
                                               CONFIDENTIAL                                                    DEFENDANT 1266
 From:
 To:
 Cc:
 Subject:
 Date:
 Attachments:




 From:
 Date:
 To:



 Cc:
 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:
 Date:


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 241 of 256 PageID #: 5660
                                               CONFIDENTIAL                                                    DEFENDANT 1267
 To:



 Subject:




 From:
 Date:
 To:



 Subject:




 From:
 Sent:
 To:


 Subject:

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From:
 Sent:
 To:

 Subject:




 From:
 Date:

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 242 of 256 PageID #: 5661
                                   CONFIDENTIAL                                   DEFENDANT 1268
 To:

 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:
 Date:
 To:

 Subject:




 From:
 Sent:
 To:
 Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 243 of 256 PageID #: 5662
                                               CONFIDENTIAL                                                    DEFENDANT 1269
 From:
 Date:
 To:
 Subject:




 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From:
 Date:
 To:




 Subject:




Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 244 of 256 PageID #: 5663
                                               CONFIDENTIAL                                                    DEFENDANT 1270
Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 245 of 256 PageID #: 5664
                               CONFIDENTIAL                            DEFENDANT 1271
 From:
 To:
 Subject:
 Date:
 Attachments:




 Cool, that’s the only thing I woke up this morning thinking about.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Wednesday,                  at 9:59 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Suzanne Simms <Suzannes@daveramsey.com>, Jack
 Galloway <jack@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Not on our insurance. He is a                    so I’m assuming benefits through them, but in either case
 he is not on our plan.

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                    at 9:56 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Not sure. Armando can you find out?


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 246 of 256 PageID #: 5665
                                               CONFIDENTIAL                                                    DEFENDANT 1272
 Also… sorry @Suzanne Simms, I said “can” be there but I meant “will”.


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Wednesday,                   at 9:53 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Is this guy and his wife on our insurance?


 From: Michael Finney <Michael.Finney@daveramsey.com>
 Date: Wednesday,                 at 9:51 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Mark Floyd <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 I said I will be there, too!


 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Wednesday,                  at 9:50 AM
 To: Michael Finney <Michael.Finney@daveramsey.com>, Jack Galloway
 <jack@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>, Jennifer
 Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: Re: Team Member Concern

 Finney, a board member has to be there.

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Wednesday,                 9:49 AM
 To: Jack Galloway; Suzanne Simms; Armando Lopez; Jennifer Sievertsen; Mark Floyd
 Subject: Re: Team Member Concern

 I think it should be           and    . I can be there, too. But I’ve never spoken to him outside of a

Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 247 of 256 PageID #: 5666
                                          CONFIDENTIAL                                            DEFENDANT 1273
 quick meet and greet and my Fraps with Finney meeting. (It’s my version of Wrap with Dave.)

 I like your approach on the conversation.


 From: Jack Galloway <jack@daveramsey.com>
 Date: Wednesday,                    at 9:45 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>, Armando Lopez <armando.lopez@daveramsey.com>,
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>, Mark Floyd
 <Mark.Floyd@daveramsey.com>
 Subject: RE: Team Member Concern

 Didn’t hear back from Dave yesterday; but I don’t expect any push back. So anytime
 after Dave replies:

       I will confirm with you guys by email
       Finney &        sound like the right pair to meet with him
       Armando will meet with him afterward

 Sounds like he will be surprised for whatever reason. Here’s my two cents. Instead of
 simply telling him “you broke the rules and you’re fired”, I would suggest asking him
 some questions when you meet with him. Things like:

       We talked about righteous living at least two times during the interview. There
       was no confusion. And based on the time line, you were violating the core value
       while you were agreeing to it…why?
       Based on the timeline, there’s a reasonable chance you suspected or knew about
       the pregnancy and didn’t talk about it?
       Why would you put all of us through this when you knew how we felt about it?

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Suzanne Simms
 Sent: Tuesday,                2:31 PM
 To: Michael Finney <Michael.Finney@daveramsey.com>; Armando Lopez
 <armando.lopez@daveramsey.com>; Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>;
 Mark Floyd <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>
 Subject: Re: Team Member Concern


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                                         CONFIDENTIAL                                          DEFENDANT 1274
 Feels like he would’ve said all that by now...?!

 I’m good with      .

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Michael Finney <michael.finney@daveramsey.com>
 Sent: Tuesday,                 2:30 PM
 To: Armando Lopez; Jennifer Sievertsen; Mark Floyd; Jack Galloway; Suzanne Simms
 Subject: RE: Team Member Concern

 Wow. That didn’t come out right.

       I’m sure we hire people who had sex before marriage all the time. We don’t hold that against
       them.
       Maybe these two renewed their pledge to stay off each other after getting pregnant. (but I
       highly doubt it)

 Again… I don’t think it changes it. Does it? If he says he knows he screwed up and they talked about
 it and he told her dad and they talked with their pastor and and and…… would that change anything?

 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Michael Finney
 Sent: Tuesday,               2:26 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jennifer Sievertsen
 <jennifer.sievertsen@daveramsey.com>; Mark Floyd <Mark.Floyd@daveramsey.com>; Jack
 Galloway <jack@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 The only wrinkle in this whole thing is he got her pregnant before he started here. sure we hire
 people all the time to who kids out of wedlock.

 My question would be would that change anything? I’m 99% sure that doesn’t change things. But I
 had to call it out before we make the final decision.


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                                         CONFIDENTIAL                                           DEFENDANT 1275
 ___________________
 Michael Finney
 Chief Digital Officer
 Ramsey Solutions



 From: Armando Lopez
 Sent: Tuesday,                  2:20 PM
 To: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Jack Galloway <jack@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>
 Cc: Michael Finney <Michael.Finney@daveramsey.com>
 Subject: Re: Team Member Concern

 Nothing new to report after meeting with      . Righteous living was discussed with     at
 interview and brought up at spousal lunch with       & his wife      .      showed up alone since
 he was not married and conversations were had to insure he understood our core value and stance.

        started with us on                   . He makes $55k

 I’m leaning towards         which is what we offer people who opt out in 90 days. Thoughts?


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 www.daveramsey.com




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 From: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>
 Date: Tuesday,                  at 1:17 PM
 To: Mark Floyd <Mark.Floyd@daveramsey.com>, Jack Galloway <jack@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Suzanne Simms
 <Suzannes@daveramsey.com>

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                                               CONFIDENTIAL                                                    DEFENDANT 1276
 Subject: Re: Team Member Concern

 Yep – agree. It’s the probationary period.


 From: Mark Floyd <Mark.Floyd@daveramsey.com>
 Date: Tuesday,                at 1:16 PM
 To: Jack Galloway <jack@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Jen Sievertsen <jennifer.sievertsen@daveramsey.com>,
 Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 Agree. Under 90 days makes me go really low. IMO, maybe 1-2 months tops.

 From: Jack Galloway
 Sent: Tuesday,                    1:15 PM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Jack Galloway <jack@daveramsey.com>;
 Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>; Mark Floyd
 <Mark.Floyd@daveramsey.com>; Suzanne Simms <Suzannes@daveramsey.com>
 Subject: RE: Team Member Concern

 One thing we’d need to land on is severance. Call me a hard @$$; but I’m not sure we
 need to be quite as generous to a guy that had already gotten a girl pregnant when he
 started as we were with        . And he’s literally been working here          .

 Jack Galloway
 Executive Vice President
 Ramsey Solutions
 www.daveramsey.com

 From: Jennifer Sievertsen
 Sent: Tuesday,              10:51 AM
 To: Armando Lopez <armando.lopez@daveramsey.com>; Suzanne Simms
 <Suzannes@daveramsey.com>; Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Let’s email the details and determine if there’s a reason to meet or not.


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,               at 10:49 AM
 To: Suzanne Simms <Suzannes@daveramsey.com>, Jen Sievertsen
 <jennifer.sievertsen@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

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                                          CONFIDENTIAL                             DEFENDANT 1277
 Yep!     and I will meet at lunch to gather additional detail. Should we meet prior to Thursday’s
 HRC meeting or wait?

 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
 1749 Mallory Lane, Brentwood, TN 37027
 T: 615.515.3223, ext. 5045 | M: 615.390.9368
 www.daveramsey.com




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 From: Suzanne Simms <Suzannes@daveramsey.com>
 Date: Tuesday,                   at 10:45 AM
 To: Jen Sievertsen <jennifer.sievertsen@daveramsey.com>, Armando Lopez
 <armando.lopez@daveramsey.com>, Committee - HR <HRCommittee@daveramsey.com>
 Subject: Re: Team Member Concern

 Damn! EXACT same timeline and story!?

 Suzanne Simms
 EVP, Consumer Division
 Ramsey Solutions


 From: Jennifer Sievertsen <jennifer.sievertsen@daveramsey.com>
 Sent: Tuesday,                 11:44 AM
 To: Armando Lopez; Committee - HR
 Subject: Re: Team Member Concern

 Well we have a template on how to handle I guess. When it rains, it pours!


 From: Armando Lopez <armando.lopez@daveramsey.com>
 Date: Tuesday,             at 10:43 AM


Case 3:20-cv-00628 Document 94-6 Filed 09/01/22 Page 252 of 256 PageID #: 5671
                                               CONFIDENTIAL                                                    DEFENDANT 1278
 To: Committee - HR <HRCommittee@daveramsey.com>
 Subject: FW: Team Member Concern

 FYI - I will meet with         today! Crap…


 Armando Lopez | Executive Director of Human Resources
 Ramsey Solutions
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 www.daveramsey.com




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 From:
 Date: Tuesday,                at 10:31 AM
 To: Eric Lackey <EricL@daveramsey.com>, Rick Perry <Rick.Perry@daveramsey.com>,
 Armando Lopez <armando.lopez@daveramsey.com>, Michael Finney
 <Michael.Finney@daveramsey.com>,
                                      >
 Subject: Team Member Concern

 Gentlemen,

 I wanted to let you all know about something that I just learned about in my one-on-one with
        this morning.

 He informed me that he and his wife are expecting their first child in            . The issue is that
 they just got married over the               . So here is the timeline that I have.




 Rick and Armando I will be looking to get some time with you today or tomorrow to figure out the
 next steps.

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                                               CONFIDENTIAL                                                    DEFENDANT 1279
 Thanks,




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                               CONFIDENTIAL                            DEFENDANT 1280
                                                                                                                       Ramsey Solutions
                                                                                 Employees Believed to Have Engaged in Premarital Sex between January 1, 2018 and June 25, 2020




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                                                                                                                       CONFIDENTIAL
                                                                                 DEFENDANT 2169
                                                                                 CONFIDENTIAL




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